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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS, FLORIDA

IN RE:
CHRIS E. CARHART,                                   CASE NO. 9:16-bk-06499-FMD
                                                    CHAPTER 13
                    Debtor.
___________________________/

  NOTICE OF SUBMISSION OF RESPONSE OF NON-DEBTOR DEPONENT KEXIN
   CARHART IN COMPLIANCE WITH COURT’S ORDER ON MOTION TO COMPEL
                          (DOCKET NO. 83)

     COMES NOW, Debtor, CHRIS E. CARHART, by and through their
undersigned attorney, and notifies the Court of the submission
the response of non-debtor deponent Kexin Carhart in compliance
with this Court’s Order granting in part and denying in part
motion to compel Fed. R. Bankr. Pro. 2004 production of
documents and examination testimony of Kexin Carhart, Docket No.
83, together with a copy of this Notice on May 3, 2017 to
Counsel for Creditor(s) Carhart-Halaska International, LLC,
Christoper G. Halaska & Halaska International, Inc.

                                CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the
foregoing has been furnished by first class U.S. mail to:
U.S. Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL, 33602,
Robert E. Tardif, Jr., Trustee, P.O. Box 2140, Ft. Myers, FL
33902, Lara R. Fernandez, Esq. Trenam, Kemker, Scharf, Barkin,
Frye, O’neill & Mullis, P.A., 101 E. Kennedy Blvd., Suite 2700,
Tampa, FL 33602, and Stephanie C. Lieb, Esq, Trenam, Kemker,
Scharf, Barkin, Frye, O’neill & Mullis, P.A., 101 E. Kennedy
Blvd., Suite 2700, Tampa, FL 33602, postage fully prepaid or by
electronic notice, this 3rd day of May , 2017.

                                             MILLER, HOLLANDER and JEDA
                                             Attorneys for Debtors
                                             2430 Shadowlawn Drive, Suite 18
                                             Naples, FL 34112
                                             Telephone 239-775-2000
                                             Facsimile 239-775-7953


                                             By: /S/Richard J. Hollander
                                                  RICHARD J. HOLLANDER
                                                  Florida Bar No. 884900
                                                  MELISSA H. JEDA
                                                  Florida Bar No. 106407

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